Case 2:04-cV-02446-.]DB-tmp Document 44 Filed 07/19/05 Page 1 of 3 Page|D 69

IN THE UNITED sTATEs DISTRICT coURT F“~ED BY -'%‘ D~°'

FoR THE wEsTERN DISTRICT oF TENNESSEE .
wEsTERN DIVISION 95 JUL 19 PH 2' 37

 

 

SMITH & NEPHEW, INC.,

Plaintiff,
vs. Civ. No. 04-2446-B[P
STRYKER CORPORATION, et al.,

Defendants.

\._r\\.r~\.rv-.r~_¢`_d~.d`_d\./'-_/

 

ORDER G'RAN'I'ING PLAINTIFF’S MOTION FOR LEAVE TO FILE SECOND
AMENDMENT TO COMPLAINT

 

Before the court is Plaintiff's Motion for Leave to File
Second Amendment to Complaint, filed on June 24, 2005 (dkt #38).
LOCal Rule 7.2(a)(2) requires that

The response to the motion and its supporting

memorandum . . . shall be filed Within fifteen
days after service of the motion and shall be
accompanied by a proposed order. Failure to

respond timely to any motion, other than one
requesting dismissal of a claim or action, may
be deemed good grounds for granting the
motion.
The time for filing a response to Plaintiff’s Motion for Leave to
File Second Amendment to Complaint has passed. Therefore, the

plaintiff’s motion is GRANTED.

IT IE`> SO ORDERED.

K/o»

TU M. PHAM
United States Magistrate Judge

101 \‘1 w>§
Date w

 

This document entered on the docket sheet 1n com 1161an
With Huie 58 and/or 79(3) FHCP on_mm__ '7'; 0 0

JM'

 

Notice of Distribution

This notice confirms a copy cf the document docketed as number 44 in
case 2:04-CV-02446 Was distributed by faX, mail, or direct printing on
July 20, 2005 to the parties listed.

ESSEE

 

Mark Vorder-Bruegge

WYATT TARRANT & COl\/[BS
P.O. ch 775000

Memphis7 TN 38177--500

Douglas F. Halijan

BURCH PORTER & JOHNSON
130 N. Ccurt Avenue

Memphis7 TN 38103

Gregcry J. chler

MCANDREWS HELD & MALLOY, LTD.

500 West Madison St.
34th Flccr
Chicago, IL 60661

Glen G. Reid

WYATT TARRANT & COl\/[BS
P.O. ch 775000

Memphis7 TN 38177--500

Charles F. Newman

BURCH PORTER & JOHNSON
130 N. Ccurt Avenue

Memphis7 TN 38103--221

Timothy J. Mallcy

MCANDREWS HELD & MALLOY, LTD.

500 West Madison St.
34th Flccr
Chicago, IL 60661

Sharon A. HWang

MCANDREWS HELD & MALLOY, LTD.

500 West Madison St.
34th Flccr
Chicago, IL 60661

Case 2:04-cV-02446-.]DB-tmp Document 44 Filed 07/19/05 Page 3 of 3 Page|D 71

Honcrable J. Breen
US DISTRICT COURT

